Case 2:10-cr-14078-KMM Document 173 Entered on FLSD Docket 07/14/2011 Page 1 of 6
Case 2:10-cr-14078-KMM Document 173 Entered on FLSD Docket 07/14/2011 Page 2 of 6
Case 2:10-cr-14078-KMM Document 173 Entered on FLSD Docket 07/14/2011 Page 3 of 6
Case 2:10-cr-14078-KMM Document 173 Entered on FLSD Docket 07/14/2011 Page 4 of 6
Case 2:10-cr-14078-KMM Document 173 Entered on FLSD Docket 07/14/2011 Page 5 of 6
Case 2:10-cr-14078-KMM Document 173 Entered on FLSD Docket 07/14/2011 Page 6 of 6
